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                            No. 23-11184

   In the United States Court of Appeals
           for the Fifth Circuit
 United States of America, ex rel, Alex Doe, Relator,
                        Plaintiff-Appellee,
                                  v.
     Planned Parenthood Federation of America,
                   Incorporated,
                       Defendant-Appellant.

           On Appeal from the United States District Court
         for the Northern District of Texas, Amarillo Division
                          No. 2:21-cv-00022

OPPOSITION TO MOTION TO EXTEND DEADLINE
FOR DEFENDANT-APPELLANT’S OPENING BRIEF

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             Certificate of Interested Persons
                                 No. 23-1184
          U NITED S TATES OF A MERICA , EX REL , A LEX D OE , R ELATOR ,
                                   Plaintiff-Appellee,
                                           v.
           P LANNED P ARENTHOOD F EDERATION OF A MERICA , I NC .,
                                Defendant-Appellant.

    The undersigned counsel of record certifies that the following listed persons and
entities as described in the fourth sentence of Rule 28.2.1 have an interest in the out-
come of this case. These representations are made in order that the judges of this
Court may evaluate possible disqualification or recusal.



 Plaintiff-Appellee                             Former or present counsel
 • Relator Alex Doe (identity under             Hacker Stephens LLP
   seal)                                        • Heather Gebelin Hacker
                                                • Andrew B. Stephens

 Defendant-Appellant                            Former or present counsel
 • Planned Parenthood Federation of             O’Melveny & Myers LLP
   America                                      • Danny S. Ashby
                                                • Justin R. Chapa
                                                • Megan R. Whisler
                                                • Anton Metlitsky
                                                • Leah Godesky
                                                • Amanda Santella
                                                • Craig P. Bloom
                                                • Ross Galin
                                                Ryan Brown Attorney at Law
                                                • Ryan Patrick Brown


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Other Parties
• State of Texas, Plaintiff                   Office of the Attorney General
                                              • Ken Paxton
                                              • Brent Webster
                                              • Grant Dorfman
                                              • Shawn E. Cowles
                                              • Austin Kinghorn
                                              • Ralph Molina
                                              • Raymond Winter
                                              • Christopher D. Hilton
                                              • Halie E. Daniels
                                              • Reynolds B. Brissenden, IV
                                              • Amy S. Hilton
                                              • William Wassdorf
• United States of America, Real              United States Attorney’s Office
  Party in Interest                           • Kenneth G. Coffin
                                              • J. Scott Hogan
                                              • Jamie Yavelberg
• State of Louisiana, Real Party in           Office of the Louisiana Attorney General
  Interest/Movant                             • Joseph Scott St. John

• Planned Parenthood of Greater               Arnold & Porter Kaye Scholer LLP
  Texas, Defendant                            • Christopher M. Odell
• Planned Parenthood Gulf Coast,              • Craig D. Margolis
  Defendant                                   • Tirzah S. Lollar
• Planned Parenthood South Texas,             • Paula Ramer
  Defendant                                   • Alyssa Gerstner
• Planned Parenthood Cameron                  • Christian Sheehan
  County, Defendant                           • Emily Reeder-Ricchetti
• Planned Parenthood San Antonio,             • Megan Pieper
  Defendant                                   • Meghan Martin
                                              • Ralf Owen Dunn
                                              • Marcus Asner
                                              • Jayce Lane Born
                                              • Diana Mahoney

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                                        Law Office of Blackburn & Brown, LLP
                                        • Ryan Patrick Brown

• The Anti-Fraud Coalition, Amicus      Taxpayers Against Fraud
  Curiae                                • Jacklyn DeMar




                                     /s/ Heather Gebelin Hacker
                                     HEATHER GEBELIN HACKER
                                     Counsel for Plaintiff-Appellee Alex Doe




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         Plaintiff-Appellee respectfully requests that this Court deny Defendant-Ap-
pellant’s Motion to Extend Deadline.
    1.   Under the current briefing schedule, briefing will be completed one month
before the September en banc session, which is scheduled for September 23-26,
2025. 1 Defendant-Appellant PPFA requests a 28-day extension for its en banc brief,

which would result in the briefing not being completed until September 24. That
would make it too late for this Court to hear oral argument in this case during the
September session. Perhaps that is why PPFA requests this relief. The Court’s next
en banc session isn’t until January 2026.
    2.   While Appellee is sympathetic to other lawyers’ busy schedules and previ-
ously scheduled vacation, the requested extension will cause further prejudice to Ap-
pellee by delaying en banc consideration to the next session, and Appellee has already
been prejudiced by repeated delays in this case. Undersigned counsel will also be on
a planned family vacation out of the country during a portion of the period for prep-

aration of Appellee’s en banc brief yet still plans to submit the brief when scheduled
by the Court. And undersigned counsel is one member of a two-person firm, not one
of the country’s largest law firms with thousands of lawyers. Given the importance

of en banc proceedings, it is reasonable to expect that PPFA’s counsel could obtain
extensions or assistance on other matters if needed.




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      While the Court stated that the oral argument date would be TBD, presumably that refers
only to the day and time during the Court’s September en banc session. ECF No. 142-1. The front
page of the Court’s website lists this case as one of the Court’s September en banc cases.


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    3.   Appellee previously explained the prejudice from the delay in this case when
Appellee moved for the appeal to be expedited. ECF No. 39 at 19-20; ECF No. 52 at
9-10. A motions panel granted that motion. ECF No. 55-1. Appellee also noted the
prejudice from delay when opposing PPFA’s similar motion for a month-long exten-
sion to file its opening brief in the appeal, ECF No. 54, which was denied by the

Court, ECF No. 60. The merits panel did not issue its per curiam opinion in the
expedited appeal until nearly one calendar year after oral argument, ECF No. 120.
Thus, the prejudice to Appellee that the motions panel presumably recognized was
already occurring as of February 2024 has been exacerbated.
    4.   Moreover, other parties in this case are prejudiced by the delay. For in-
stance, the State of Texas has not yet been able to try its claim against the Affiliate
Defendants. None of those parties are part of this appeal.

                                 Conclusion
         The Court should deny the motion.

                                        Respectfully submitted.

                                        /s/Heather Gebelin Hacker
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                                        Andrew B. Stephens
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                                        Counsel for Plaintiff-Appellee


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                       Certificate of Service
    On July 3, 2025, this brief was served via CM/ECF on all registered counsel and
transmitted to the Clerk of the Court. Counsel further certifies that: (1) any required

privacy redactions have been made in compliance with Fifth Circuit Rule 25.2.13;
(2) the electronic submission is an exact copy of the paper document in compliance
with Fifth Circuit Rule 25.2.1.

                                        /s/ Heather Gebelin Hacker
                                        H EATHER G E BELIN H ACKER

                    Certificate of Compliance
      This motion complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 27(d)(2)(A) because it contains 447 words, excluding the parts
exempted by Rule 27(a)(2)(B); and (2) the typeface and type style requirements of
Rule 27(d)(1)(E) because it has been prepared in a proportionally spaced typeface
(14-point Equity) using Microsoft Word (the program used for the word count).

                                        /s/ Heather Gebelin Hacker
                                        H EATHER G E BELIN H ACKER




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